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                                      UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF TEXAS


UNITED STATES OF AMERICA                                       §
                                                               §
vs.
       /)                .
                                                               §       Case No:    ·H - j 1 -       i$ 3 2...
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                     WAIVER OF RIGHTS AND CONSENT TO PLEA/SENTENCING
                                  BY VIDEO CONFERENCE

         I acknowledge that I have a right to appear before a judge in person when pleading guilty or United States

District Judge when being sentenced.            I further acknowledge that I may waive the right to plead guilty or be

sentenced in person before the judge, under Federal Rule of Criminal Procedure 43(c ).

         I have discussed the implications of waiving these rights with my attorney, and I understand the

consequences of such a waiver. I am choosing to knowingly, intelligently, and voluntarily waive my rights to

plead guilty or be sentenced in person. I consent to the Court accepting my guilty plea and/or sentencing me via

video conferencing, or telephone conferencing if video conferencing is not reasonably available.

         I am waiving my rights and consenting of my own free will and volition. Nobody, including my attorney,

has insisted upon, coerced, or improperly influenced me in my decision to waive my rights and consent to a guilty

plea or sentencing via video conferencing, or telephone conferencing if video conferencing is not reasonably

available.

         Executed this       1"2   day of    FebtwJ /YI6            , 202~, in    HoushJYJ             , Texas.




                                            Defi n-

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                                            Defense Counsel
